              Case 2:16-cv-01750-SJO-JPR Document 60 Filed 05/13/16 Page 1 of 1 Page ID #:892
                                      UNITED STATES DISTRICT COURT
                                     CENTRAL DISTRICT OF CALIFORNIA
    Carl Mitchel                                                                CASE NUMBER:

                                                                                                   2:16-cv-01750-SJO-JPR
                                                              PLAINTIFF(S)
                                         v.
    City of Los Angeles et al
                                                                                     NOTICE TO FILER OF DEFICIENCIES IN
                                                                                     ELECTRONICALLY FILED DOCUMENTS
                                                          DEFENDANT(S) .

    PLEASE TAKE NOTICE:
    The following problem(s) have been found with your electronically filed document:

                5/11/16                               58; 59                       Notice (Other); Miscellaneous document
                Date Filed                            Doc. No.                     Title of Doc.
    ERRORS WITH DOCUMENT                                                          pdf was motion for clarification, and proposed order
                  A Certificate of Good Standing is not attached to the pro hac vice application        which should have been
                  Caption of document is incomplete/incorrect                                           submitted as a separate
                  Case is closed                                                                        attachment to the motion
                  Case number is incorrect or missing
                  Document linked incorrectly to the wrong document/docket entry
                  Document submitted in the wrong case
re 58     ✔       Hearing information is missing, incorrect, or not timely due to incorrect event NO HEARING was set on Judge's motion
                  Incorrect document is attached to the docket entry         calender
          ✔       Incorrect event selected. Correct event to be used is MOTION: Order
                  Leave of court required for filing                    Follow system prompts to select date, time and select Judge
re 59     ✔       Proposed document was not submitted as separate attachment
                  Title page is missing
                  F.R.Civ.P 15 Amended pleading is untimely
                  Local Rule 7.1-1 No Certificate of Interested Parties and/or no copies
                  Local Rule 7-19.1 Notice to other parties of ex parte application lacking
                  Local Rule 11-6 Memorandum/brief exceeds 25 pages
                  Local Rule 11-8 Memorandum/brief exceeding 10 pages shall contain table of contents
                  Local Rule 19-1 Complaint/Petition includes more than 10 Does or fictitiously named parties
                  Local Rule 56-1 Statement of uncontroverted facts and/or proposed judgment lacking
                  Local Rule 56-2 Statement of genuine disputes of material fact lacking
                  Other:




        Note:    In response to this notice, the Court may: 1) order an amended or corrected document to be filed; 2) order the
                 document stricken; or 3) take other action as the Court deems appropriate. You need not take any action in response to
                 this notice unless and until the Court directs you to do so.
                                                                                   Clerk, U.S. District Court

    Dated: 5/13/16                                                                       By: Linda_Chai@cacd.uscourts.gov
                                                                                                  Deputy Clerk
    cc: Assigned District Judge and/or Magistrate Judge

                     Please refer to the Court’s website at www.cacd.uscourts.gov for Local Rules, General Orders, and applicable forms.

    G-112A (10/13)                     NOTICE TO FILER OF DEFICIENCIES IN ELECTRONICALLY FILED DOCUMENTS
